      Case: 4:16-cv-01489-CEJ Doc. #: 1 Filed: 09/21/16 Page: 1 of 3 PageID #: 1



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI

TINA JOLIFF,                                 )
                                             )
        Plaintiff,                           )
                                             )
vs.                                          )       Case No.
                                             )
MEDICREDIT, INC.,                            )
                                             )
        Defendant.                           )

                                   NOTICE OF REMOVAL

        Defendant Medicredit, Inc. (“Medicredit” or “Defendant”) hereby files its Notice of

Removal of the above-captioned case to this Court and, and in support of removal, respectfully

states as follows:

        1.      Medicredit is named as a defendant in Civil Action No. 16SL-CC02824, filed in

the Circuit Court of the County of St. Louis, State of Missouri, styled Tina Joliff v. Medicredit,

Inc. (the “State Court Action”).

        2.      The Petition in the State Court Action was filed with the Clerk of the Circuit

Court of the County of St. Louis, Missouri on or about August 4, 2016. Pursuant to 28 U.S.C. §

1446(a), copies of all process, pleadings and orders served upon Defendant in the State Court

Action are attached hereto as Exhibit A.

        3.      In the State Court Action, Plaintiff alleges that Defendant violated a federal

statute, the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et. seq. (“FDCPA”).

        4.      Any civil action is removable if the plaintiff could have originally brought the

action in federal court. See 28 U.S.C. § 1441(a).

        5.      Under 28 U.S.C. § 1331, this Court has original federal question jurisdiction over

Plaintiff’s FDCPA claim.


                                                 1                                       SL 2037689.1
    Case: 4:16-cv-01489-CEJ Doc. #: 1 Filed: 09/21/16 Page: 2 of 3 PageID #: 2



        6.      Accordingly, pursuant to 28 U.S.C. § 1441(a), Defendant has the right to remove

the State Court Action to this Court, without regard to the citizenship or residency of the parties

or the amount in controversy.

        7.      Defendant was formally served with the Summons and Petition on August 23,

2016. This removal is therefore timely pursuant to 28 U.S.C. § 1446(b).

        8.      By this Notice of Removal, Defendant does not waive any defense, jurisdictional

or otherwise, which it may possess. Defendant also does not concede that Plaintiff has stated a

claim against it.

        WHEREFORE, in accordance with the authorities set forth above, Defendant hereby

removes this action from the Circuit Court for St. Louis County, Missouri, to the United States

District Court for the Eastern District of Missouri.

        DATED this 21st day of September, 2016.


                                                  Respectfully submitted,
                                                  SPENCER FANE LLP
                                              By: /s/ Patrick T. McLaughlin
                                                 Scott J. Dickenson, #50478MO
                                                 Patrick T. McLaughlin, #48633MO
                                                 1 North Brentwood Blvd., Suite 1000
                                                 St. Louis, MO 63105
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                                                  Attorneys for Defendant




                                                 2                                       SL 2037689.1
    Case: 4:16-cv-01489-CEJ Doc. #: 1 Filed: 09/21/16 Page: 3 of 3 PageID #: 3



                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was filed electronically with the United

States District Court for the Eastern District of Missouri, Eastern Division, this 21st day of

September, 2016, with a true copy mailed, first class postage prepaid, to:

       Bryan E. Brody
       Alexander J. Cornwell
       Brody & Cornwell
       1 N. Taylor Ave.
       St. Louis, MO 63108

       Attorney for Plaintiff

                                                 /s/ Patrick T. McLaughlin




                                                3                                   SL 2037689.1
